

Matter of S.A. (Camica A.) (2024 NY Slip Op 01334)





Matter of S.A. (Camica A.)


2024 NY Slip Op 01334


Decided on March 14, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 14, 2024

Before: Webber, J.P., Oing, González, Kennedy, Shulman, JJ. 


Docket No. N-03154/22 N-03155/22 Appeal No. 1842[M-00842] Case No. 2023-01024 

[*1]In the Matter of S.A., and Another, Children Under Eighteen Years of Age, etc., Camica A., Respondent-Appellant, Administration for Children's Services, Petitioner-Respondent.


The Reiniger Law Firm, New York (Douglas H. Reiniger of counsel), for appellant.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Jennifer Lerner of counsel), for respondent.
Dawne A. Mitchell, The Legal Aid Society, New York (Judith Stern of counsel), Attorney for the children.



Appeal from order, Family Court, New York County (Anna R. Lewis, J.), entered on or about January 27, 2023, which, following a hearing, granted petitioner agency's application for removal of the subject children pursuant to Family Court Act § 1027, unanimously dismissed, without costs, as moot.
Respondent mother's appeal from the grant of the agency's application for removal of the children from her care pursuant Family Court Act § 1027 has been rendered moot by the subsequent determination of neglect against her. In any event, respondent's arguments on appeal are unavailing, as there is a sound and substantial basis in the record for the Family Court's finding that the children would have faced imminent risk of harm if returned to respondent's care (see Family Court Act § 1027; Nicholson v Scoppetta, 3 NY3d 357, 376-379 [2004]).	M-00842 — A., Children
Motion to dismiss the appeal as moot granted. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 14, 2024








